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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            SOUTHERN DIVISION AT LONDON
                              CIVIL ACTION NO. __________


DOUG GEORGE and                                                                PLAINTIFFS
GEORGE & COMPANY, INC.


v.                                      COMPLAINT



SOUTHERN COAL CORPORATION                                                   DEFENDANTS
and SOUTHERN COAL KENTUCKY CORPORATION
d/b/a SOUTHERN COAL CORPORATION


Serve: Southern Coal Corporation
       The Corporation Trust Company
       Corporation Trust Center
       1209 Orange Street
       Wilmington, DE 19801

         Southern Coal Kentucky Corporation
         CT Corporation System
         306 West Main Street
         Suite 512
         Frankfort, KY 40601


                                     ************

         Come the Plaintiffs Doug George and George & Company, Inc. and for their Complaint

against the Defendants Southern Coal Corporation and Southern Coal Kentucky Corporation

d/b/a Southern Coal Corporation, state as follows:

                                        THE PARTIES

         1.   Plaintiff Doug George (“Doug”) is a citizen and resident of Laurel County,

Kentucky.

         2.   Plaintiff George & Company, (“George”) is a corporation incorporated under the
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laws of Kentucky and has a principal place of business located at 594 Rose Jones Lane, London,

Kentucky 40741 within Laurel County, Kentucky. It is a citizen and resident of Laurel County,

Kentucky.

       3.     According to the Kentucky Secretary of State, Southern Coal Corporation is a

foreign corporation organized and existing under the laws of Delaware and has a principal place

of business located at 818 North Eisenhower Drive, Beckley, West Virginia 25801. According

to the Delaware Secretary of State, Southern Coal Corporation has a registered agent of The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 19801. Upon information and belief, Southern Coal Corporation may have moved it

principal place of business to 302 S Jefferson St. Roanoke, Virginia 24011. This corporation is a

citizen of Delaware, West Virginia or Virginia.

       4.     Defendant Southern Coal Kentucky Corporation is a foreign corporation organized

and existing under the laws of Delaware, having its principal place of business located at 302

South Jefferson Street, Roanoke, Virginia 24011. This corporation is a citizen of Delaware and

Virginia. It has a registered agent of CT Corporation System, 306 West Main Street, Suite 512,

Frankfort, Kentucky 40601. According to the Kentucky Secretary of State, Southern Coal

Kentucky Corporation also does business as and under the name of Southern Coal Corporation.

Southern Coal Corporation has registered its name with the Kentucky Secretary of State as a real

name of foreign organization which filed under a fictitious name.

       5.     Defendants Southern Coal Corporation and Southern Coal Kentucky Corporation

are referred to herein collectively in the singular as “Defendant Southern Coal” or “Southern

Coal” unless stated otherwise.

       6.     Plaintiff Doug is the President of the Plaintiff George and has an ownership in

George. Plaintiff George has been assigned all rights, title and interest in all cause of actions and



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claims that Doug may have or has against Defendant Southern Coal arising from the breach of

contract claims and other cause of actions alleged herein.

       7.     As Assignee under the Assignment, Plaintiff George has all rights, title and interest

that Plaintiff Doug may have against Defendant Southern Coal arising from the breach of

contract claims and other cause of actions alleged herein and is entitled to assert these claims

against Defendants on behalf of Plaintiff George.

                                JURISDICTION AND VENUE

       8.      At all times alleged herein, the Defendants Southern Coal Corporation and

Southern Coal Kentucky Corporation conducted and transacted business within the

Commonwealth of Kentucky and in Laurel County, Kentucky. Both Southern Coal Corporation

and Southern Coal Kentucky Corporation have transacted and conducted business in the state of

Kentucky by contracting with entities and individuals within Kentucky and registering with the

Kentucky Secretary of State to conduct business in Kentucky. Southern Coal Corporation and

Southern Coal Kentucky Corporation also operate businesses and coal mine operations within

Kentucky and have engaged in the transportation of goods and products into and through

Kentucky. Furthermore, Southern Coal Corporation and Southern Coal Kentucky Corporation

have subjected themselves to the personal jurisdiction of this Court by entering into contractual

agreements with Plaintiffs to perform tax consulting services for them and to obtain refunds of

Kentucky sales tax, use tax, tangible property tax and excise taxes.

       9.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. 1332 by reason

of diversity of citizenship between the parties and the amount in controversy exceeds, exclusive

of interest and costs, the sum of $75,000.

       10.    Complete diversity jurisdiction exists pursuant to 28 U.S. C. 1332. The Plaintiff

Doug is a citizen and resident of Kentucky. The Plaintiff George was and is a corporation



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existing under the laws of Kentucky and has its principal place of business in Kentucky. The

Defendant Southern Coal Corporation was and is a corporation existing under the laws of

Delaware and has its principal place of business in either West Virginia or Virginia. Defendant

Southern Coal Kentucky Corporation was and is a corporation existing under the laws of

Delaware and has its principal place of business in Virginia.

        11.    The claims and damages asserted herein arise from contractual agreements that

were entered into and to be performed in Laurel County, Kentucky. Pursuant to the Joint Local

Rules, U.S. District Courts for the Eastern and Western Districts of Kentucky, LR 3.1(a)(3)(A),

Laurel County falls within the Southern Division at London. As such, venue is proper in this

judicial district pursuant to 28 U.S.C. §1391.

                                       COUNT ONE
                                  (BREACH OF CONTRACT)

        12.     Plaintiffs incorporate and reaffirm all previous allegations of the Complaint as if

fully set herein.

        13.     Defendant   Southern    Coal,    through   its   authorized   officers,   employees,

representatives and agents, including but not limited to Brian Rice, entered into a contractual

agreement with Plaintiff Doug on or about June 26, 2012. Brian Rice, Southern Coal’s officer,

employee, agent or representative, officer executed the Agreement dated June 26, 2012 (the

“June 2012 Agreement”) on behalf of Southern Coal and/or its subsidiaries or affiliated entities,

including but not limited to James C. Justice Companies, Inc., Kentucky Fuel Corporation,

Premium Coal Company, Inc., TAMS Management, Inc., Justice Low Seam Mining, Inc. and

Sequoia Energy, LLC and represented that he was duly authorized to execute the Agreement. A

copy of the June 2012 Agreement is attached as Exhibit “1”.




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       14.    The June 2012 Agreement was executed in Laurel County, Kentucky by Plaintiff

Doug. This June 2012 Agreement was performed wholly or in all its essential parts in Laurel

County, Kentucky by the Plaintiffs as it conducted and transacted operations in performance of

the Agreement in Laurel County, Kentucky.

       15.    Southern Coal, through its authorized officers, employees, representatives and

agents, including but not limited to Brian Rice, entered into a supplemental contractual

agreement with Plaintiff Doug on or about July 9, 2012. Brian Rice, Southern Coal’s officer,

employee, agent or representative, officer executed the Agreement dated July 9, 2012 (the “July

2012 Agreement”) on behalf of Southern Coal and/or its subsidiaries or affiliated entities,

including but not limited to James C. Justice Companies, Inc., Kentucky Fuel Corporation,

Premium Coal Company, Inc., TAMS Management, Inc., Justice Low Seam Mining, Inc. and

Sequoia Energy, LLC and represented that he was duly authorized to execute the Agreement. A

copy of the July 2012 Agreement is attached as Exhibit “2”.

       16.    The July 2012 Agreement was executed in Laurel County, Kentucky by Plaintiff

Doug. This July 2012 Agreement was performed wholly or in all its essential parts in Laurel

County, Kentucky by the Plaintiffs as it conducted and transacted operations in performance of

the Agreement in Laurel County, Kentucky.

       17.    On or about July 9, 2012, on behalf of Southern Coal and/or its subsidiaries or

affiliated entities, including but not limited to James C. Justice Companies, Inc., Kentucky Fuel

Corporation, Premium Coal Company, Inc., TAMS Management, Inc., Justice Low Seam

Mining, Inc. and Sequoia Energy, LLC also verbally agreed with Plaintiffs Doug and George

that each of them would assist Southern Coal in providing consulting services, reviewing records

and tax refund assistance in an effort to obtain refunds of Kentucky sales tax, use tax, tangible

property tax and excise taxes from the State of Kentucky that may be owed to Southern Coal



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and/or its subsidiaries or affiliated entities, including but not limited to James C. Justice

Companies, Inc., Kentucky Fuel Corporation, Premium Coal Company, Inc., TAMS

Management, Inc., Justice Low Seam Mining, Inc. and Sequoia Energy, LLC.

       18.     The June 2012 Agreement, the July 2012 Agreement and the verbal agreement are

referred to herein collectively as the “Agreement” unless specified otherwise.

       19.     Pursuant to the parties’ Agreement, Defendant Southern Coal requested Plaintiff

Doug to assist Southern Coal in providing consulting services, reviewing records and tax refund

assistance in an effort to obtain refunds of Kentucky sales tax, use tax, tangible property tax and

excise taxes from the State of Kentucky that may be owed to Southern Coal and/or its

subsidiaries or affiliated entities, including but not limited to James C. Justice Companies, Inc.,

Kentucky Fuel Corporation, Premium Coal Company, Inc., TAMS Management, Inc., Justice

Low Seam Mining, Inc. and Sequoia Energy, LLC.

       20.     As part of the parties’ Agreement, Plaintiffs agreed to recommend potential

strategies and identify potential tax refund opportunities within Southern Coal and/or its

subsidiaries or affiliated entities and to work on obtaining refunds of Kentucky sales tax, use tax,

tangible property tax and excise taxes from the State of Kentucky that may be owed to Southern

Coal and/or its subsidiaries.

       21.     Pursuant to the parties’ Agreement, Plaintiffs were to receive thirty percent (30%)

of any and all refunds generated from overpayments made to either the vendor or the Kentucky

Department of Revenue, with Plaintiffs being responsible for all of the expenses.

       22.     Pursuant to the parties’ Agreement, Plaintiffs did obtain tax refunds for Southern

Coal and/or its subsidiaries or affiliated entities in the amount of $622,259.41. This amount

represented refunds of Kentucky sales tax, use tax, tangible property tax and excise taxes from

the State of Kentucky that was owed to Southern Coal and/or its subsidiaries or affiliated entities.



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Defendant Southern Coal and/or its subsidiaries or affiliated entities did pay Plaintiffs thirty

percent (30%) of the $622,259.41 for these refunds pursuant to the parties’ Agreement.

       23.       Pursuant to the parties’ Agreement, Plaintiffs obtained additional tax refunds for

Southern Coal and/or its subsidiaries or affiliated entities, including but not limited to James C.

Justice Companies, Inc., Kentucky Fuel Corporation, Premium Coal Company, Inc., TAMS

Management, Inc., Justice Low Seam Mining, Inc. and Sequoia Energy, LLC. in the amount of

$1,729,987.13.     This amount represented refunds of Kentucky sales tax, use tax, tangible

property tax and excise taxes from the State of Kentucky that was owed to Southern Coal and/or

its subsidiaries or affiliated entities. As a result of Plaintiffs’ work and efforts in obtaining the

refund amount of $1,729,987.13, Plaintiffs are entitled to the additional sum of $518,996.14,

which has not been paid.

       24.       The amount of $518,996.14 represents amounts due on invoices that were dated

May 6, 2013 for $427,176.82; May 6, 2013 for $77,954.55; June 6, 2013 for $378.42; August 12,

2013 for $8,446.17; and August 29, 2013 for $5,040.18. These amounts are due and owing, but

have not been paid.

       25.       Plaintiffs have performed all the terms of the Agreement between the parties.

       26.       Defendant Southern Coal further owed Plaintiffs a duty of good faith and fair

dealing.

       27.       Defendant Southern Coal has breached the terms of the Agreement with the

Plaintiffs by failing to make the contractually required payments pursuant to the terms of the

Agreement.

       28.       Defendant Southern Coal has further breached its duty and covenant of good faith

and fair dealing owed to Plaintiffs.




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       29.      Defendant Southern Coal is in default of the Agreement and has refused and

neglected to pay Plaintiffs the contractually required amounts due therein.

       30.      Demand has been made upon the Defendant Southern Coal, but it has refused

payment thereof.

       31.      As a result of the breaches set forth above by Southern Coal, Plaintiffs are entitled

to damages in the amount of $518,996.14 and all other damages related thereto.

                                          COUNT TWO
                                (Unjust Enrichment/Quantum Merit)

       32.      Plaintiffs assert and incorporate all previous allegations of the Complaint as if

fully set forth and incorporated herein.

       33.      Plaintiffs provided and rendered valuable services that were furnished and they

also incurred expenses to and for the benefit of the Defendant Southern Coal and its subsidiaries

and/or affiliated entities, with the understanding and expectation that compensation would be

paid to them.

       34.      These valuable services provided and expenses incurred by Plaintiffs were

accepted by Defendant Southern Coal and its subsidiaries and/or affiliated entities, or at least

were received by Defendant Southern Coal and its subsidiaries and/or affiliated entities, or were

rendered with the knowledge and consent of Defendant Southern Coal and its subsidiaries and/or

affiliated entities, under such circumstances as reasonably notified the Defendant Southern Coal

and its subsidiaries and/or affiliated entities that Plaintiffs expected to be paid by them.

       35.      Despite the valuable services provided and expenses incurred by Plaintiffs and the

benefits received by Defendant, Defendant Southern Coal refuses to compensate Plaintiffs.




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       36.     Defendant Southern Coal has improperly profited and been unjustly enriched

through Plaintiffs’ services. As such, Defendant is not entitled to retain Plaintiffs’ monies and

the amount of $518,996.14 is due to Plaintiffs.

       37.     As a direct and proximate result of the actions, services, expenses and benefits

provided by Plaintiffs and as set forth above, the Defendant Southern Coal is indebted and owes

Plaintiffs the amount of $518,996.14 and all other damages related thereto.

                                            COUNT THREE
                                           (Constructive Trust)

       38.     Plaintiffs assert and incorporate all previous allegations of the Complaint as if

fully set forth and incorporated herein.

       39.     Defendant Southern Coal is in possession of monies remitted by various third

parties for the tax refunds that was intended for payment to Plaintiffs for their services.

       40.     Defendant holds these monies in constructive trust for Plaintiffs and this Court

should order the Defendant Southern Coal to release the monies to Plaintiffs in the amount of

$518,996.14.

       41.     As a direct and substantial result of Defendant’s aforementioned actions,

Plaintiffs are entitled to an order from this Court requiring the amount of $518,996.14 be

remitted to the Clerk of the Court for deposit until this matter is adjudicated.

       42.     As a direct and substantial result of Defendant’s aforementioned actions,

Plaintiffs have incurred damages in the amount of $518,996.14 and are entitled to an order of the

Court requiring payment to them and all other damages related thereto.

                                             COUNT FOUR
                                              (Conversion)

       43.     Plaintiffs assert and incorporate all previous allegations of the Complaint as if

fully set forth and incorporated herein.



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       44.     Pursuant to the parties’ Agreement, the Plaintiffs were to be paid for services

provided by them.

       45.     Defendant Southern Coal has intentionally, wrongfully and willfully failed to

remit and deliver the proceeds of payments from the State of Kentucky to Plaintiffs, thereby

wrongfully converting said sums for its own personal use and benefit and has refused to pay

Plaintiffs for this conversion.

       46.     As a direct and substantial result of Defendant Southern Coal’s aforementioned

actions, Plaintiffs has incurred damages in the amount of $518,996.14 and other damages related

thereto.

       47.     Additionally, Plaintiff is entitled to punitive damages in an amount to be

determined for the intentional, willful and intentional actions of Defendant Southern Coal.

                                       COUNT FIVE
                                  (PROMISSORY ESTOPPEL)

       48.     Plaintiffs assert and incorporate all previous allegations of the Complaint as if

fully set forth and incorporated herein.

       49.     Plaintiffs have provided valuable services, expended time and money for which

the Defendant Southern Coal and its subsidiaries and/or affiliated entities received benefits and

consideration through tax refunds received from the State of Kentucky that were the result of

Plaintiffs’ work, efforts, knowledge, experience and services. Furthermore, Plaintiffs provided

these services to Defendant based upon representations, assurances and actions made by the

Defendant that payment would be made and forthcoming.

       50.     Plaintiffs reasonably relied upon such representations, assurances and actions

believing that they would be paid and therefore expended additional time, money and efforts to

comply therewith the requests, all to their detriment, which constitutes promissory estoppel.




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       51.     Based upon those representations, assurances and actions of Defendant Southern

Coal, the Plaintiffs reasonably relied upon such representations, assurances and actions believing

that the services would be paid for and therefore expended efforts and funds to comply therewith,

all to their detriment, which constitutes promissory estoppel. As such, the Defendant’s actions

act as an estoppel against Southern Coal from now denying the claims of Plaintiffs.

       52.     Despite such benefits received, Defendant Southern Coal refuses to compensate

Plaintiffs as assured, represented and as required.

       53.     As a direct and proximate result of the actions, assurances and representations of

the Defendant Southern Coal that were to the detriment of the Plaintiffs, they have suffered

damages in the amount of $518,996.14 and fall other damages related thereto.

       WHEREFORE, the Plaintiffs Doug George and George & Company, Inc. demand

judgment against the Defendants Southern Coal Corporation and Southern Coal Kentucky

Corporation d/b/a Southern Coal Corporation, jointly and severally, in the amount of

$518,996.14; for punitive damages against both Defendants in an amount to be determined by a

jury; for a jury trial on all issues so triable; for an order from this Court requiring the amount of

$518,996.14 be remitted to the Clerk of the Court for deposit until this matter is adjudicated; for

pre-judgment and post-judgment interest; for its court costs incurred herein; and for any and all

other relief or orders which they may be entitled.




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                                    Respectfully submitted,

                                    /s/Benjamin Lee Kessinger, III
                                    Benjamin Lee Kessinger, III
                                    Robert C. “Coley” Stilz, III
                                    KINKEAD & STILZ, PLLC
                                    PNC Tower
                                    301 East Main Street, Suite 800
                                    Lexington, KY 40507
                                    Phone: (859)296-2300
                                    Facsimile: (859)296-2566
                                    ATTORNEYS FOR PLAINTIFFS




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